        Case 1:24-cv-02789-PLF         Document 22        Filed 11/04/24      Page 1 of 10




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    AMERICAN OVERSIGHT,

                Plaintiff,

         v.                                                Civil Action No. 24-2789 (PLF)

    DEPARTMENT OF DEFENSE, et al.,

                Defendants.


                                            ANSWER

        Defendants, the Department of Defense and the Department of Army, hereby answer

Plaintiff’s Amended Complaint, ECF No. 7. Defendants deny each allegation of the Complaint

not expressly admitted in their Answer and admit, deny, or otherwise respond to the numbered

paragraphs of the Amended Complaint as follows:

        1.     The allegations in Paragraph 1 contain Plaintiff’s characterization of this lawsuit to

which no response is required.

                                 JURISDICTION AND VENUE 1

        2.     The allegations in Paragraph 2 consist of legal conclusions to which no response is

required. To the extent a response is required, Defendants admit that this Court has jurisdiction

subject to the terms and conditions of the Freedom of Information Act (“FOIA”) and pursuant to

5 U.S.C. § 552(a)(4)(B).




1
        For ease of reference, Defendants refer to Plaintiff’s headings and titles, but to the extent
those headings and titles could be construed to contain factual allegations, those allegations are
denied.
       Case 1:24-cv-02789-PLF              Document 22     Filed 11/04/24        Page 2 of 10




       3.       The allegations in Paragraph 3 consist of legal conclusions to which no response is

required. To the extent a response is required, Defendants admit that venue is proper in this District

pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391.

       4.       The allegations in Paragraph 4 contain Plaintiff’s characterization of this lawsuit

and legal conclusions to which no response is required. To the extent a response is required,

Defendants deny the allegations and deny that Plaintiff is entitled to relief.

                                              PARTIES

       5.       Defendants lack knowledge and sufficient information to form a belief as to the

truth of the allegations in Paragraph 5.

       6.       Defendants admit the allegations in the first sentence in Paragraph 6. With respect

to the remaining allegations, Defendants admit that, based on the language of the request,

Defendant Department of Defense maintains possession, custody, and control over some records

which may be relevant to Plaintiff’s request, to the extent that such records may exist.

       7.       Defendants admit the allegations in the first sentence in Paragraph 7. With respect

to the remaining allegations, Defendants admit that, based on the language of the request,

Defendant Department of the Army maintains possession, custody, and control over some records

which may be relevant to Plaintiff’s request, to the extent that such records may exist.

                                    STATEMENT OF FACTS

       8.       The allegations in Paragraph 8 purport to characterize Plaintiff’s August 29, 2024,

FOIA request which speaks for itself and is the best evidence of its contents. Defendants

respectfully refer the Court to the August 29, 2024, FOIA request for a complete and accurate

description of its contents and deny the allegations to the extent they are inconsistent with the

FOIA request.




                                                -2-
       Case 1:24-cv-02789-PLF           Document 22        Filed 11/04/24     Page 3 of 10




       9.       The allegations in Paragraph 9 purport to characterize Plaintiff’s August 29, 2024,

FOIA request which speaks for itself and is the best evidence of its contents. Defendants

respectfully refer the Court to the August 29, 2024, FOIA request for a complete and accurate

description of its contents and deny the allegations to the extent they are inconsistent with the

FOIA request.

       10.      Defendants lack knowledge and sufficient information to form a belief as to the

truth of the allegations in Paragraph 10. Additionally, the allegations in Paragraph 10 purport to

characterize Exhibits B and C of Plaintiff’s Amended Complaint. Defendants respectfully refer

the Court to Exhibits B and C for a complete and accurate description of their contents and deny

the allegations to the extent they are inconsistent with those Exhibits.

       11.      The allegations in Paragraph 11 purport to characterize an August 30, 2024, email

which speaks for itself and is the best evidence of its contents. Defendants respectfully refer the

Court to the August 30, 2024, email for a complete and accurate description of its contents and

deny the allegations to the extent they are inconsistent with the August 30, 2024, email.

       12.      Defendants lack knowledge and sufficient information to form a belief as to the

truth of the allegations in Paragraph 12. Additionally, the allegations in Paragraph 12 purport to

characterize Exhibit E of Plaintiff’s Amended Complaint. Defendants respectfully refer the Court

to Exhibit E for a complete and accurate description of its’ content and deny the allegations to the

extent they are inconsistent with that Exhibit.

       13.      The allegations in Paragraph 13 purport to characterize an August 31, 2024, email

which speaks for itself and is the best evidence of its contents. Defendants respectfully refer the

Court to the August 31, 2024, email for a complete and accurate description of its contents and

deny the allegations to the extent they are inconsistent with the August 31, 2024, email.




                                                  -3-
       Case 1:24-cv-02789-PLF          Document 22       Filed 11/04/24      Page 4 of 10




       14.     The allegations in Paragraph 14 purport to characterize a September 18, 2024, email

which speaks for itself and is the best evidence of its contents. Defendants respectfully refer the

Court to the September 18, 2024, email for a complete and accurate description of its contents and

deny the allegations to the extent they are inconsistent with the September 18, 2024, email.

       15.     The allegations in Paragraph 15 purport to characterize a September 18, 2024, email

which speaks for itself and is the best evidence of its contents. Defendants respectfully refer the

Court to the September 18, 2024, email for a complete and accurate description of its contents and

deny the allegations to the extent they are inconsistent with the September 18, 2024, email.

       16.     The allegations in Paragraph 16 purport to characterize a September 20, 2024, email

which speaks for itself and is the best evidence of its contents. Defendants respectfully refer the

Court to the September 20, 2024, email for a complete and accurate description of its contents and

deny the allegations to the extent they are inconsistent with the September 20, 2024, email.

       17.     The allegations in Paragraph 17 purport to characterize a September 23, 2024, email

which speaks for itself and is the best evidence of its contents. Defendants respectfully refer the

Court to the September 23, 2024, email for a complete and accurate description of its contents and

deny the allegations to the extent they are inconsistent with the September 23, 2024, email.

       18.     The allegations in Paragraph 18 purport to characterize a September 25, 2024, email

which speaks for itself and is the best evidence of its contents. Defendants respectfully refer the

Court to the September 25, 2024, email for a complete and accurate description of its contents and

deny the allegations to the extent they are inconsistent with the September 25, 2024, email.

       19.     Defendants lack knowledge and sufficient information to form a belief as to the

truth of the allegations in Paragraph 19.




                                               -4-
       Case 1:24-cv-02789-PLF          Document 22       Filed 11/04/24      Page 5 of 10




       20.     The allegations in Paragraph 20 purport to characterize a September 25, 2024, email

which speaks for itself and is the best evidence of its contents. Defendants respectfully refer the

Court to the September 25, 2024, email for a complete and accurate description of its contents and

deny the allegations to the extent they are inconsistent with the September 25, 2024, email.

       21.     Defendants admit the allegations in Paragraph 21 and aver that Plaintiff received a

response to its FOIA request on October 25, 2024.

                             Exhaustion of Administrative Remedies

       22.     The allegations in Paragraph 22 are legal conclusions to which no response is

required.

       23.     The allegations in Paragraph 23 are legal conclusions to which no response is

required.

       24.     The allegations in Paragraph 24 are legal conclusions to which no response is

required.

       25.     The allegations in Paragraph 25 are legal conclusions to which no response is

required.

       26.     The allegations in Paragraph 26 are legal conclusions to which no response is

required.

       27.     Defendants admit the allegations in Paragraph 27 and aver that Plaintiff received a

response to its FOIA request on October 25, 2024.

       28.     The allegations in Paragraph 28 are legal conclusions to which no response is

required.

       29.     The allegations in Paragraph 29 are legal conclusions to which no response is

required.




                                               -5-
          Case 1:24-cv-02789-PLF          Document 22     Filed 11/04/24   Page 6 of 10




                                               COUNT I
                                   Violation of FOIA, 5 U.S.C. § 552

          30.    Defendants incorporate their responses to Paragraphs 1-29 as if set forth fully

herein.

          31.    The allegations in Paragraph 31 are legal conclusions to which no response is

required.

          32.    The allegations in Paragraph 32 are legal conclusions to which no response is

required.

          33.    The allegations in Paragraph 33 are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations and deny that

Plaintiff is entitled to relief.

          34.    The allegations in Paragraph 34 are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations and deny that

Plaintiff is entitled to relief.

                                          COUNT II
                               Violation of FOIA, 5 U.S.C. § 552
                 Failure to Conduct Adequate Searches for Responsive Records

          35.    Defendants incorporate their responses to Paragraphs 1-34 as if set forth fully

herein.

          36.    The allegations in Paragraph 36 are legal conclusions to which no response is

required.

          37.    The allegations in Paragraph 37 are legal conclusions to which no response is

required.




                                                 -6-
          Case 1:24-cv-02789-PLF       Document 22       Filed 11/04/24    Page 7 of 10




          38.    The allegations in Paragraph 38 are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations and deny any

violation of law.

          39.    The allegations in Paragraph 39 are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations and deny any

violation of law.

          40.    The allegations in Paragraph 40 are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations and deny that

Plaintiff is entitled to relief.

                                         COUNT III
                              Violation of FOIA, 5 U.S.C. § 552
                    Wrongful Withholding of Non-Exempt Responsive Records

          41.    Defendants incorporate their responses to Paragraphs 1-40 as if set forth fully

herein.

          42.    The allegations in Paragraph 42 are legal conclusions to which no response is

required.

          43.    The allegations in Paragraph 43 are legal conclusions to which no response is

required.

          44.    The allegations in Paragraph 44 are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations and deny any

violation of law.

          45.    The allegations in Paragraph 45 are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations and deny any

violation of law.




                                               -7-
        Case 1:24-cv-02789-PLF          Document 22        Filed 11/04/24      Page 8 of 10




        46.      The allegations in Paragraph 46 are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations and deny any

violation of law.

        47.      The allegations in Paragraph 47 are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations and deny that

Plaintiff is entitled to relief.

                                    REQUESTED RELIEF

        The remainder of Plaintiff’s Complaint consists of Plaintiff’s requested relief to which no

response is required. To the extent Plaintiff’s requested relief is deemed to contain factual

allegations, Defendants deny those allegations and denies that Plaintiff is entitled to any relief.

                             AFFIRMATIVE AND OTHER DEFENSES

        Any allegations not specifically admitted, denied, or otherwise responded to are hereby

denied. In further response to the Complaint, Defendants raise the following defenses. Defendants

respectfully reserve the right to amend, alter, and supplement the defenses contained in this

Answer as the facts and circumstances giving rise to the Complaint become known to the

Defendants throughout the course of this litigation.

                                        FIRST DEFENSE

        This Court lacks subject matter jurisdiction over any of Plaintiff’s request for relief that

exceeds the relief authorized by FOIA, 5 U.S.C. § 552.

                                       SECOND DEFENSE

        Defendants conducted an adequate search for records responsive to the FOIA request.




                                                -8-
       Case 1:24-cv-02789-PLF           Document 22         Filed 11/04/24       Page 9 of 10




                                        THIRD DEFENSE

       Plaintiff is not entitled to production of records protected from disclosure by one or more

applicable FOIA exemptions, release of which records foreseeably would harm an interest the

exemption protects, or which records are protected from disclosure by one or more applicable

FOIA exclusions.

                                       FOURTH DEFENSE

       Plaintiff is not entitled to production of non-exempt portions of records that are not

reasonably segregable from exempt portions of records.

                                         FIFTH DEFENSE

       Plaintiff is neither eligible nor entitled to attorney’s fees or costs.


                                         SIXTH DEFENSE

       Defendants’ actions or inactions did not violate the FOIA or any other statutory or

regulatory provision.

                                      SEVENTH DEFENSE

       Defendants have not improperly withheld records requested by Plaintiff under FOIA.

                                       EIGHTH DEFENSE

       The information, in whole or in part, that Plaintiff seeks in its FOIA request is exempt from

public disclosure under the FOIA, and Defendants have not improperly withheld any records under

5 U.S.C. § 552, as amended.



                                         *         *        *




                                                 -9-
    Case 1:24-cv-02789-PLF   Document 22        Filed 11/04/24     Page 10 of 10




Dated: November 4, 2024             Respectfully submitted,
       Washington, DC
                                    MATTHEW M. GRAVES, D.C. Bar #481052
                                    United States Attorney

                                    BRIAN P. HUDAK
                                    Chief, Civil Division


                                    By:             /s/ Dedra S. Curteman
                                            DEDRA S. CURTEMAN,
                                            D.C. Bar #90021492
                                            Assistant United States Attorney
                                            601 D Street, NW
                                            Washington, DC 20530
                                            (202) 252-2550

                                    Attorneys for the United States of America




                                   - 10 -
